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  6
    Attorneys for The Davey Tree Expert
  7
    Company, Davey Tree Surgery Company,
  8 and Davey Resource Group, Inc.

  9                         UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 10                              SAN FRANCISCO DIVISION

 11 In re:                                          Case No. 19-30088 (DM)

 12 PG&E CORPORATION                                Chapter 11

 13 and                                             (Lead Case)

 14 PACIFIC GAS AND ELECTRIC CO.,                   (Jointly Administered)

 15                 Debtors.                        NOTICE OF SPEAKING
                                                    ATTORNEYS PER COURT’S ORDER
 16      Affects PG&E Corporation                  ESTABLISHING CONFIRMATION
                                                    HEARING PROTOCOL
 17      Affects Pacific Gas and Electric
                                                    Date:         May 27, 2020
          Company
 18                                                 Time:         10:00 a.m. (Pacific Time)
                                                   Place:        United States Bankruptcy Court
 19      Affects both Debtors                                   Courtroom 17, 16th Floor
                                                                  450 Golden Gate Avenue
 20 * All papers shall be filed in the Lead Case,                 San Francisco, CA 94102
    No. 19-30088 (DM).
 21                                                 Related Docket Nos.: 7182 & 7304

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Case:Notice re Speaking
     19-30088     Doc#Attorneys
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  1 TO THE BANKRUPTCY COURT, DEBTORS, AND ALL OTHER PARTIES IN INTEREST:

  2          McDermott Will & Emery LLP and Nixon Peabody LLP, counsel to The Davey Tree

  3 Expert Company, Davey Tree Surgery Company, and Davey Resource Group, Inc. (collectively,

  4 “Davey”), submit this Notice in accordance with the Court’s Order Establishing Confirmation

  5 Hearing Protocol [Doc. No. 7182], which directs, inter alia, that by May 22, 2020, “All parties that

  6 intend to participate at the Confirmation Hearing must provide the Court with the names and e-

  7 mail addresses of all speaking attorneys and witnesses.”

  8          On May 15, 2020, Davey filed the The Davey Tree Expert Company’s, Davey Tree

  9 Surgery Company’s, And Davey Resource Group, Inc.'s (I) Objection And Reservation Of Rights

 10 Of Regarding Assumption Of Various Contracts Pursuant To The Proposed Plan Of

 11 Reorganization; And (II) Joinder To Objection Of The Official Committee Of Unsecured Creditors

 12 To Plan Confirmation [Docket No. 7304] (the “Objection”).

 13          Davey files this Notice as a protective measure, in the event that any ground for objection

 14 raised in the Objection continues to be at issue during the confirmation proceedings, including, but

 15 not limited to, any objection to the Debtor’s intended disallowance of proofs of claim for

 16 indemnification and contribution based upon the language in paragraph 13 of the “Schedule of

 17 Executory Contracts and Unexpired Leases to be Assumed Pursuant to the Plan and Proposed

 18 Cure Amounts” (Exhibit B to the Debtors’ “Plan Supplement” [Docket No. 7037]), Debtors’

 19 failure to list the appropriate contracts for assumption, or the Plan’s proposed treatment of

 20 unsecured claims.

 21          Jeffrey M. Reisner (jreisner@mwe.com) and Kerri A. Lyman (klyman@mwe.com) will be

 22 the “speaking attorneys” on behalf of Davey. In addition, the following attorney, who represents

 23 Davey as counsel with respect to various contracts, claims, defenses, indemnity and contribution

 24 rights, and other issues that are the subject of the Objection, will be a “speaking attorney” with

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  1 respect to those matters:

  2          Robert M. Blum (State Bar No. 83302)
             rblum@nixonpeabody.com
  3          NIXON PEABODY LLP
             One Embarcadero Center, 32nd Floor
  4
             San Francisco, CA 94111-3600
  5          Telephone: (415) 984-8311
             Facsimile: (866) 244-0466
  6

  7          Davey does not intend to call any witnesses in connection with the confirmation
  8 proceedings, but reserves the right to call witnesses at a later date, as necessary, in connection with

  9 any proceedings related to assumption of executory contracts and/or cure amounts

 10                                                      MCDERMOTT WILL & EMERY LLP

 11                                                      By: /s/ Kerri A. Lyman
                                                              Kerri A. Lyman
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 13                                                           Attorneys for The Davey Tree Expert
                                                              Company, Davey Tree Surgery Company,
 14                                                           and Davey Resource Group, Inc.
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  1 I, KERRI A. LYMAN, do declare and state as follows:

  2          1. I am employed in the County of Orange, State of California. I am over the age of 18

  3 years of age and not a party to the above-entitled action. My business address is 18565 Jamboree

  4 Road, #250, Irvine, CA 92612.

  5          2. I certify that, on May 22, 2020, I caused a true and correct copy of the foregoing

  6 document, described as: NOTICE OF SPEAKING ATTORNEYS PER COURT’S ORDER

  7 ESTABLISHING CONFIRMATION HEARING PROTOCOL, to be served via electronic mail

  8 on the parties listed on the annexed Electronic Mail Notice List.

  9          3. I further certify that, on May 22, 2020, I caused a true and correct copy of the foregoing

 10 document, described as: NOTICE OF SPEAKING ATTORNEYS PER COURT’S ORDER

 11 ESTABLISHING CONFIRMATION HEARING PROTOCOL, to be filed electronically with the

 12 Clerk of the Court using the CM/ECF system which will send notification of such filing to the e-

 13 mail addresses denoted on the electronic mail notice list.

 14          I declare under penalty of perjury under the laws of the State of California that the foreigng

 15 is a true and correct and that this declaration was executed on May 22, 2020, in Orange County,

 16 California.

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 18                                                        ___/s/ Kerri A. Lyman______________

 19                                                        Kerri A. Lyman

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